        19-13895-jlg    Doc 312     Filed 07/15/20 Entered 07/15/20 10:25:27             Main Document
                                                 Pg 1 of 1
                                                                                    ATTORNEYS AT LAW
                                                                                    90 PARK AVENUE
                                                                                    NEW YORK, NY 10016-1314
                                                                                    212.682.7474 TEL
                                                                                    212.687.2329 FAX
                                                                                    WWW.FOLEY.COM

                                                                                    WRITER’S DIRECT LINE
                                                                                    212.338.3411
                                                                                    plabov@foley.com

                                                                                    CLIENT/MATTER NUMBER
                                                                                    125232-0101


                                                 July 15, 2020

        Via ECF and Fedex

        Honorable James L. Garrity, Jr.
        United States Bankruptcy Court
        Southern District of New York
        One Bowling Green
        New York, NY 10004-1408


                 RE:   In re Orly Genger,
                       Case No. 19-13895 (JLG)/Common Interest Privilege

        Dear Judge Garrity,

                As you are aware, this firm represents Dalia Genger (“Dalia”) in connection with the
        above-referenced bankruptcy proceeding. We write in opposition to the letter briefs filed by the
        Debtor and Trustee seeking a determination that the common interest privilege does not apply to
        communications by and among the Creditor Group and its attorneys, and also, in support of the
        responses submitted by Sagi Genger (“Sagi”), and Michael Oldner (“Mr. Oldner”) as the Trustee
        of the Orly Genger Trust (the “Orly Trust”) (collectively, the “Creditor Group Responses”).

                Dalia has reviewed, and is in agreement with, the positions taken in the Creditor Group
        Responses. Moreover, in connection with motion practice on the common interest privilege, Dalia
        relies upon the statements made in her Opposition to the Motion to Dismiss the Constructive Trust
        Complaint and Cross Motion for Summary Judgement (the “Constructive Trust Complaint
        Response”), Adv. P. No. 20-01010 [Dkt. No. 19].

                                                          Respectfully submitted,

                                                          /s/ Paul J. Labov

                                                          Paul J. Labov



        cc: All Counsel of Record (via ECF)




4814-3604-6019
